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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

CR19-02738 TUC-RM(JR)

 

 

 

 

 

United States of America,
INDICTMENT
Plaintiff,
Violation:
VS.
18 U.S.C. 875(c)
(Threats Through Interstate Commerce)
Jan Peter Meister,
Aka Peter Meister, Count |
Defendant. .
THE GRAND JURY CHARGES:
COUNT 1

On or about October 1, 2019, at or near Tucson, in the District of Arizona, JAN
PETER MEISTER, knowingly transmitted in interstate commerce, with intent to
threaten, a communication, that is, a message left on the Washington District Office
voicemail system of Congressman A.S., containing a threat to injure the person of
another, to wit: “Yeah, go fuck your mother, you son of a bitch cause I'm gonna fucking
blow your brains out you fucking piece of shit mother, fucker, you're a fucking piece of
shit. You fucking piece of shit mother fucker. Yeah watch. I'm gonna fuck your asshole
you piece of shit son of a bitch. Yeah come get me. I guarantee I’1I fuck your brains out."

Mt tt it

 

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In violation of Title 18, United States Code, Section 875(c).

 

A TRUE BILL
{s/
Presiding Juror
MICHAEL BAILEY REDACTED FOR
United States Attorney PUBLIC DISCLOSURE
District of Arizona
Is/

NICOLE P. SAVEL

BEVERLY K. ANDERSON
Assistant United States Attorneys
Dated: October 23, 2019

United States of America v. Jan Peter Meister
Indictment Page 2 of 2

 
